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                      UNITED STATES DISTRICT COURT
                       MIDDLE DISTRICT OF FLORIDA
                             TAMPA DIVISION

    UNITED STATES OF AMERICA

    vs.                                             8:08-cr-450-T-33EAJ

    CARL BLAIR, GEORGE AUGUSTUS,
    DENEIL TENASHEL CAMPBELL and
    ANTONIO MAURICE McCLAIN
    _______________________________/


                                    ORDER

          This matter comes before the Court pursuant to Defendant

    George Augustus’ Motion for a New Trial (Doc. # 249), filed on

    February 25, 2010, and Defendant’s Motion for Judgment of

    Acquittal (Doc. # 251), filed on February 26, 2010.                The

    Government filed a response in opposition to the motions on

    March 4, 2010 (Doc. # 253).         For the reasons stated below,

    Defendant’s motions are due to be denied.

    I. Background

          The Government’s March 4, 2009, superseding indictment

    charged   in   count   one   that   Defendant   “did   knowingly   and

    willfully conspire and agree with [others] to possess with

    intent to distribute 5 kilograms or more of a mixture or

    substance containing a detectable amount of cocaine, contrary

    to the provisions of Title 21, United States Code, Sections

    841(a)(1).     In violation of Title 21 United States Code,

    Sections 846 and 841(b)(1)(A).” (Doc. # 45 at 1).
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          Count two of the superseding indictment charged that

    Defendant    possessed      a    firearm   in     furtherance       of    a   drug

    trafficking crime, in violation of 18 U.S.C. § 924(c)(1).

    (Doc. # 45 at 2). After suppression proceedings before United

    States Magistrate Judge Elizabeth A. Jenkins (Doc. # 58, 79,

    168), a jury trial was conducted on February 8, 2010, through

    February 19, 2010. (Doc. # 204-240).                   The Defendants were

    tried together, and the jury found Defendant George Augustus

    guilty as to both counts of the indictment on February 19,

    2010. (Doc. # 240).

          Thereafter, on February 25, 2010, Defendant filed his

    Motion for a New Trial (Doc. # 249), and his Motion for

    Judgment of Acquittal (Doc. # 251) on February 26, 2010.

    Defendant’s    post-trial        motions    are      ripe   for   the    Court’s

    review.

    II. Standard of Decision

          A.    Rule 33 Motion for a New Trial

          A new trial pursuant to Fed.R.Crim.P. 33 may be granted

    in   the   interests   of       justice    or   on    the   basis    of       newly

    discovered evidence.        United States v. Ramos, 179 F.3d 1333,

    1336 (11th Cir. 1999).           A new trial may be granted “in the

    interest of justice” if the motion is filed “within 7 days

    after verdict or finding of guilty or within such further time


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    as the court may fix during the 7-day period.”          Fed.R.Crim.P.

    33(a) and (b)(2). In this case, the motion, filed on February

    25, 2010, was timely filed within seven days of the jury’s

    verdict.

          A new trial may also be granted on the basis of newly

    discovered evidence. Fed.R.Crim.P. 33(b)(1). To warrant a new

    trial on the basis of newly discovered evidence, the defendant

    must establish all of the following: (1) the evidence was

    discovered after trial; (2) the failure of defendant to

    discover the evidence was not due to a lack of due diligence;

    (3) the evidence is not merely cumulative or impeaching; (4)

    the evidence is material to issues before the court; and (5)

    the evidence is such that a new trial would probably produce

    a different result.      Ramos, 179 F. 3d at 1336 n.1; United

    States v. Jernigan, 341 F.3d 1273, 1287 (11th Cir. 2003).          In

    this case, the Defendant has not asserted that the discovery

    of new evidence warrants a new trial.

          Since Defendant does not allege any newly discovered

    evidence, the Court will analyze the issues under Rules 33(a)

    and   (b)(2).     Pursuant   to   Rules   33(a)   and    (b)(2),   the

    applicable standard is whether the “interest of justice”

    mandates a new trial.

          A Rule 33 motion for a new trial “is addressed to the



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    sound discretion of the trial court.”                 United States v.

    Martinez, 763 F.2d 1297, 1312 (11th Cir. 1985). The court may

    “weigh    the    evidence   and    consider     the     credibility     of

    witnesses.”      Id.; accord United States v. Cross, 258 F. App’x

    259, 261 (11th Cir. 2007).        “If the court concludes that ...

    the evidence preponderates sufficiently heavily against the

    verdict   that    a   serious   miscarriage   of      justice   may   have

    occurred, it may set aside the verdict, grant a new trial, and

    submit    the    issues   for   determination      by   another   jury.”

    Martinez, 763 F.2d at 1312 (internal quotation marks omitted);

    accord Cross, 258 F. App’x at 261.       The court may follow this

    course even if the evidence is legally sufficient to sustain

    the verdict.       Martinez, 763 F.2d at 1312.             However, the

    Eleventh Circuit has stated that “[a] motion for new trial

    must be viewed with ‘great caution.’” United States v. Reed,

    887 F.2d 1398, 1404 (11th Cir. 1989) (quoting United States v.

    Hall, 854 F.2d 1269, 1271 (11th Cir. 1988)).

         Where a motion for new trial argues that the court

    committed errors during the trial, “the convicted defendant

    has the burden of showing that (1) some error was in fact

    committed and (2) that such error was prejudicial to him.”

    United States v. Simms, 508 F. Supp. 1188, 1203 (W.D. La.

    1980); accord United States v. DeLaughter, No. 8:07-cr-201,

    2007 WL 3034645, at *1 (M.D. Fla. Oct. 16, 2007).           Even if the


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    defendant   has   made    such    a   showing,       a    new     trial   is   not

    warranted    unless      the     error       affected       the     defendant’s

    substantial rights.        Simms, 508 F. Supp. at 1203; accord

    DeLaughter, 2007 WL 3034645, at *1; see also Fed. R. Crim. P.

    52(a) (“Any error, defect, irregularity, or variance that does

    not affect substantial rights must be disregarded.”).                          “An

    error   affects   the    defendant’s         substantial        rights    if    it

    probably had a substantial influence on the jury’s verdict.”

    United States v. Rodriguez, 259 F. App’x 270 (11th Cir. 2007)

    (internal quotation marks omitted) (quoting United States v.

    Stephens, 365 F.3d 967, 976–77 (11th Cir. 2004)).                     The court

    must inquire whether the error “was more likely than not a

    substantial factor” in the conviction. See Stephens, 365 F.3d

    at 980 (remanding for new trial after concluding that district

    court’s   evidentiary     error       “was    more       likely    than   not    a

    substantial factor in [the defendant’s] conviction”).

         B.     Rule 29 Motion for Judgment of Acquittal

         A motion for acquittal is governed by Federal Rule of

    Criminal Procedure 29.         “As the text of the Rule indicates,

    and as courts and other authorities have recognized, ‘[t]he

    sole ground for a post-trial motion under Rule 29(c) is that

    the evidence was insufficient to sustain a conviction.’”

    United States v. Hunt, 412 F. Supp. 2d 1277, 1282 (11th Cir

    2005)(quoting United States v. Miranda, 425 F.3d 953, 963


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    (11th        Cir.   2005)).     “The        standard   for      assessing    the

    sufficiency of evidence is whether any reasonable view of the

    evidence, considered in the light most favorable to the

    government, is sufficient to allow a jury to find guilt beyond

    a reasonable doubt.”          United States v. Leonard, 138 F.3d 906,

    908 (11th Cir. 1998)(citing United States v. Bush, 28 F.3d

    1084, 1087 (11th Cir. 1994)).

    III. Analysis

            A.     Motion for New Trial

            Defendant asserts that a new trial is warranted because:

    (1) the Government’s translation of a September 17, 2008,

    tape-recorded conversation (Exhibit 40) was inaccurate; (2)

    the Court denied Defendant’s request to call a Court-appointed

    translator/interpreter to the stand as a defense rebuttal

    witness; (3) the Court “admonished” the defense that Defendant

    did not need an interpreter during the trial; (4) a Government

    witness improperly remarked that Defendant McClain was the

    only defendant with a “clean record;” and (5) a Government

    witness remarked that if you want to know what George Augustus

    is thinking, you have to ask George Augustus, and then looked

    and pointed at George Augustus, thus infringing on Defendant’s

    right to remain silent.

            Defendant     asserts    that       a   judgment   of    acquittal    is

    warranted because: (1) “[t]he Government failed to prove


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    beyond a reasonable doubt in it’s case-in-chief that the

    Defendant was guilty of the charges in the two counts in this

    case;”   and    (2)    “[t]he   Defendant’s       evidence    indicated    a

    reasonable doubt existed such that the jury should not have

    arrived at a verdict of guilty beyond a reasonable doubt in

    this case on both of the two counts.” (Doc. # 251 at 1).

         The Court will address each of these arguments below.

               1.     Exhibit 40

         Defendant        devotes   five       paragraphs   of   its   thirteen-

    paragraph motion for a new trial to Government Exhibit 40, a

    written transcript of a tape recorded conversation in Patois

    between Defendants in the back of a police cruiser after the

    Defendants’ arrests on September 17, 2008.               The Government’s

    tape-recorded Patois conversations of Defendants and the

    Government’s translated transcript were admitted into evidence

    as Government’s Exhibits 39 and 40, respectively.

         Defendant specifically argues that “the defense showed

    inconsistent and inappropriate assignment of the three male

    voices in Exhibit 40.” (Doc. # 249 at ¶ 7).

         The Government, on the other hand, points out that,

    during authentication of the transcript through Government

    witnesses Horst, Urton, and Patrick, the Government described

    each witnesses’ ability to differentiate voices (based on the

    witnesses not being present in the vehicle, not speaking


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    Patois, and having no familiarity with Defendants’ voices).

    Further, on cross examination, counsel for Defendant had the

    opportunity to explore any transcript inaccuracies.

         As   to   Exhibit   40,   the       Court   gave   a   special   jury

    instruction (Jury Instruction No. 19), which follows:

              As you have heard, Exhibit 40 has been
         identified as a typewritten transcript and partial
         translation from Patois into English of the oral
         conversation that can be heard on the tape
         recording received in evidence as Exhibit 39.   The
         transcript also purports to identify the speakers
         engaged in such conversation.
              I have admitted the transcript for the limited
         and secondary purpose of aiding you in following
         the content of the conversation as you listen to
         the tape recording, particularly those portions
         spoken in Patois, and also to aid you in
         identifying the speakers.
              However, you are specifically instructed that
         whether the transcript correctly or incorrectly
         reflects the content of the conversation or the
         identity of the speakers is entirely for you to
         determine based upon your own evaluation of the
         testimony you have heard concerning the preparation
         of the transcript, and from your own examination of
         the transcript in relation to your hearing of the
         tape recording itself as the primary evidence of
         its own contents; and, if you should determine that
         the transcript is in any respect incorrect or
         unreliable, you should disregard it to that extent.

    (Doc. # 238 at 22).

         The Government remarked to the jury, where there is a

    conflict, look to the audio, not to the transcript. The audio

    is the evidence. In light of the Court’s specific instruction

    regarding the limited purpose of the translation of the tape

    recorded conversation, and for the other reasons outlined


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    above, the Court denies Defendant’s request for a new trial on

    the basis of alleged inaccuracies in Exhibit 40.

                2.    Denial of Expert Witness

         Defendant contends that a new trial is needed because the

    Court denied Defendant’s request to call Patrick Anthony

    Williams, a Court-appointed translator, to the stand as a

    rebuttal witness. The Court rejects this argument with little

    discussion.       Mr.   Williams   served     as    the   Court’s   Patois

    translator during the trial.        Allowing Defendant to call Mr.

    Williams to the stand as a rebuttal witness would violate the

    rule of sequestration.        In addition, even if it were somehow

    appropriate      to   allow   a   Defendant    to    call   the     Court’s

    translator as an expert witness, in this case, Defendant did

    not provide the requisite Rule 16, Fed.R.Crim.P., notice to

    the Government regarding Defendant’s intention to call Mr.

    Williams.

         Thus, the Court denies Defendant’s request for a new

    trial on the basis of the Court’s denial of Defendant’s

    request to call Mr. Williams to the witness stand.

                3. Court Admonishment Concerning Interpreters

         Defendant argues that the Court wrongfully “admonished”

    the defense as follows:

         The Honorable Judge in this case admonished Defense
         Counsel for having to hire interpreters for George
         Augustus, taking the position of the Assistant US


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          Attorney that George Augustus did not need an
          interpreter, and it was costing the Court a lot of
          money to have the two interpreters for the trial.
          Based on this admonishment by this Honorable Court,
          Defense Counsel believed the Court was prejudiced
          against my client and George Augustus could not
          receive a fair trial. Defense counsel moved for a
          miss trial [sic] on this occasion and several
          others for which the Court denied.

    (Doc. # 249 at 3).

          The Court did make certain comments to counsel concerning

    the necessity of a Patois interpreter for Defendant, but the

    Court’s comments were never made in the presence of the jury,

    and were made in the context of determining whether government

    resources were being expended unnecessarily in this case.

    Despite the Court’s doubts concerning the necessity of a

    translator, the record reflects that Defendant was assisted by

    a translator during the trial.

          The Court notes that Defendant was not assisted by a

    translator at his initial appearance, detention hearing, or

    suppression    hearing.      In   her   report   and   recommendation

    pursuant to the suppression hearing, Judge Jenkins found that

    Defendant did not have a language barrier problem after a

    review    of   Defendant’s    post-Miranda       statements    to   law

    enforcement officers. (Doc. # 79 at 6): “Defendant engaged in

    a lengthy conversation with Agent Coad in English covering

    Defendant’s personal information, his Miranda rights, and his

    participation in the events leading to his arrest.            Moreover,


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    Defendant never asked for an interpreter and the record does

    not suggest interpretation was ever necessary.” (Doc. # 76 at

    6).1

           This Court’s comments regarding whether Defendant needed

    an interpreter, made outside of the presence of the jury, are

    not proper grounds for a new trial.

                4.    “Clean Record” Comment

           Defendant also argues that a new trial is warranted

    because a Government witness remarked that Defendant McClain

    was the only defendant with a “clean record,” implying that

    the co-defendants, including Defendant Augustus have criminal

    records.

           The Government responds that the “clean record” remark

    pertained to Defendant McClain’s driving record, not criminal

    record.    The Government explains that its theory of the case

    was that each Defendant had certain responsibilities and that

    Defendant McClain “served as the driver of the ‘get-a-way’

    car” because McClain stipulated that he had a valid driver



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          Judge Jenkins drew upon cases such as United States v.
    Longoria, 229 F. App’x 885, 888 (11 Cir. 2007)(per curiam)
    (finding defendant waived Miranda rights despite alleged
    inability to understand English where defendant spoke fluent
    English in conversations with law enforcement and never
    requested or needed an interpreter), as well as United States
    v. Briscoe, 69 F.Supp.2d 738, 742 (D. V.I. 1999)(finding
    Jamaican defendant effectively waived his Miranda rights
    despite alleged difficulty comprehending “American” English).
    (Doc. # 76 at 6 n. 7).

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    license and “Augustus admitted to having a suspended driver

    license” and so did Defendant Campbell. (Doc. # 253 at 8).

          Even though it was made clear that the comment regarding

    Defendant McClain’s “clean record” did not pertain to any

    Defendant’s criminal record, the Court struck the question and

    instructed the jury to disregard it. During closing argument,

    the only argument involving a “record” involved Defendant

    McClain’s valid driver license.

          Accordingly, the Court determines that a new trial is not

    warranted on the basis of the Government witness’s remark

    concerning Defendant McClain’s driving record.

                 5.    Right to Remain Silent

          The defense asserts that a new trial is needed because

    “On cross examination, Agent Zayas, when asked about the

    meaning of a statement attributed to George Augustus which was

    exonerating,      Agent   Zayas   stated   you   have   to   ask   George

    Augustus and looked and pointed to George Augustus at the

    defense table.” (Doc. # 249 at 4).          Although Defendant does

    not expound upon this argument, the Court presumes that

    Defendant seeks a new trial because Agent Zayas’ statements

    indirectly commented on Defendant’s right to remain silent.

          The Government remarks that defense counsel “opened the

    door” to Agent Zayas by asking an “unwise question.” (Doc. #

    253 at 9).    The Government also notes that “any issue raised


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    by the unwise question was cured by the Court’s instructions

    at the beginning of the trial and again at the end of the

    trial regarding the defendant’s right to not testify and that

    the burden of proof always remains with the Government.” (Doc.

    # 253 at 9).

          Some    comments    regarding     a    defendant’s     silence,

    particularly when a defendant remains silent after arrest, are

    unconstitutional and would warrant a new trial. United States

    v. Edwards, 576 F.2d 1152 (5th Cir. 1978).         However, not all

    comments related to a defendant’s silence rise to such a

    level.    Id. at 1154-1155.      In Edwards, the Court ruled, “a

    comment is deemed to be such a reference [to a defendant’s

    right to remain silent] if either (1) it was the prosecutor’s

    manifest intention to refer to the defendant’s silence, or (2)

    the remark was of such a character that the jury would

    ‘naturally and necessarily’ take it to be a comment on

    defendant’s silence.” Id. at 1154. The prosecutor’s remark in

    Edwards, which ultimately led to the defendant’s conviction

    being reversed, follows:

          But look, the point is, ladies and gentlemen, when
          he did finally fess up to the fact that he was the
          man in this driver’s license here, did he even tell
          them hey – when they also found Government’s
          Exhibit No. 1 [the rental contract] in his glove
          compartment, did he say, “Hey, wait a minute, let
          me tell you what the story is. I got this car a
          month ago over in Atlanta, Ga.      I’ve been down
          visiting   relatives”   or    whatever   reasonable
          explanation he might have, did he give it to them?

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          No way. Not to this good day. No way. Remember
          ladies and gentlemen, there was no reasonable
          explanation given.


    Edwards, 576 F.2d at 1154.

              In this case, the complained of comment passes the

    Edwards test because (1) the comment was made by a Government

    witness in response to a defense question, not a prosecutor,

    and (2) the comment was only tangentially, if at all, related

    to Defendant’s silence.        The comment does not “naturally and

    necessarily” relate to the Defendant’s silence.                   There was no

    overt reference to Defendant’s silence.                 After reviewing the

    comment carefully, the Court determines that it is not a

    comment infringing Defendant’s Constitutional right to remain

    silent and that it was harmless, especially in light of the

    substantial evidence of guilt against Defendant. Accordingly,

    a   new     trial   is   not    warranted         due     to    Agent   Zayas’

    aforementioned comment.

          B.     Motion for Judgment of Acquittal

          Defendant     contends    that       a   judgment    of    acquittal   is

    warranted because (1) the Government failed to prove beyond a

    reasonable doubt that Defendant was guilty of the charges in

    the superseding indictment; and (2) the Defendant’s evidence

    indicated that a reasonable doubt existed such that the jury

    should have returned a verdict of not guilty.

          As    noted   above,     “The    standard         for     assessing    the

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    sufficiency of evidence is whether any reasonable view of the

    evidence, considered in the light most favorable to the

    government, is sufficient to allow a jury to find guilt beyond

    a reasonable doubt.”     United States v. Leonard, 138 F.3d 906,

    908 (11th Cir. 1998)(citing United States v. Bush, 28 F.3d

    1084, 1087 (11th Cir. 1994)).

          In this case, the Government satisfied their burden with

    respect to Defendant, and the jury correctly determined that

    Defendant was guilty beyond a reasonable doubt.            The evidence

    does not preponderate against the verdict, such that it would

    be a miscarriage of justice to let the verdict stand.                 The

    Court has evaluated each error alleged by Defendant and has

    determined    that   neither   a   new   trial   nor   a   judgment   of

    acquittal is warranted.

          Accordingly, it is hereby

          ORDERED, ADJUDGED, and DECREED:

          Defendant George Augustus’ Motion for a New Trial (Doc.

    # 249), and Defendant’s Motion for Judgment of Acquittal (Doc.

    # 251) are DENIED.

          DONE and ORDERED in Chambers in Tampa, Florida, this 14th

    day of May 2010.




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    Copies to: Counsel of Record




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